        Case 1:21-cv-00616-SAV Document 37     Filed 08/05/22   Page 1 of 24




               UNITED STATES COURT OF INTERNATIONAL TRADE
              BEFORE: THE HONORABLE STEPHEN A. VADEN, JUDGE

                                         )
ASSAN ALUMINYUM SANAYI VE                )
TICARET A.S.,                            )
                                         )
               Plaintiff,                )   Non-Confidential Version
                                         )
v.
                                         )
THE UNITED STATES,                       )   Consol. Court No. 21-00616
                                         )
               Defendant,                )   Business Proprietary Information
                                         )   removed from pages: 6, 7, 9, 10,
ALUMINUM ASSOCIATION TRADE               )   11, 15, 16, 17.
ENFORCEMENT WORKING GROUP AND            )
ITS INDIVIDUAL MEMBERS, et al.,          )
                                         )
               Defendant-Intervenors.    )
                                         )




    RESPONSE BRIEF OF ASSAN ALUMINYUM SANAYI VE TICARET A.S TO
 PETITIONERS’ RULE 56.2 MOTION FOR JUDGMENT ON THE AGENCY RECORD




                                        Leah N. Scarpelli
                                        Matthew M. Nolan
                                        Yun Gao

                                        ARENTFOX SCHIFF LLP
                                        1717 K Street, NW
                                        Washington, D.C. 20006
                                        Tel: (202) 857-6013
                                        Fax: (202) 857-6395
                                        Email: leah.scarpelli@afslaw.com

August 5, 2022



AFDOCS/26101300.1
        Case 1:21-cv-00616-SAV Document 37                                     Filed 08/05/22              Page 2 of 24


                                               TABLE OF CONTENTS

                                                                                                                                    Page


I.     INTRODUCTION ............................................................................................................. 1
II.    ISSUES PRESENTED....................................................................................................... 2
III.   STANDARD OF REVIEW ............................................................................................... 2
IV.    ARGUMENT ..................................................................................................................... 4
       A.        Hedging Revenues Are An Appropriate Offset To COM ..................................... 4
                 1.         Commerce’s Treatment of Assan’s Hedging Revenues Is
                            Consistent With Assan’s Audited Financial Statements ............................ 4
                 2.         Commerce’s Finding That Assan’s Hedging Is Linked To Raw
                            Material Purchases Is Supported By Substantial Evidence ....................... 8
                 3.         Commerce Has Used The Same Methodology In Other Recent
                            Cases ........................................................................................................ 13
       B.        Hedging Activities Are Unrelated To Assan’s Interest Expense Ratio ............... 14
V.     PRAYER FOR RELIEF .................................................................................................. 19




                                                             i
AFDOCS/26101300.1
            Case 1:21-cv-00616-SAV Document 37                                     Filed 08/05/22             Page 3 of 24




                                                 TABLE OF AUTHORITIES

                                                                                                                                    Page(s)

Cases

Akzo N.V. v. U.S. Int’l Trade Comm’n,
   808 F.2d 1471 (Fed. Cir. 1986)..................................................................................................3

Chevron. Union Steel v. United States,
   713 F.3d 1101 (Fed. Cir. 2013)..................................................................................................3

Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc.,
   467 U.S. 837 (1984) ...................................................................................................................4

Consol. Edison Co. of New York v. NLRB,
   305 U.S. 197 (1938) ...................................................................................................................3

DuPont Teijin Films USA, LP v. United States,
  407 F.3d 1211 (Fed. Cir. 2005)..................................................................................................3

Nippon Steel Corp. v. United States,
   458 F.3d 1345 (Fed. Cir. 2006)..................................................................................................3

In re NuVasive, Inc.,
    842 F.3d 1376 (Fed. Cir. 2016)..................................................................................................3

USEC v. United States,
  498 F.Supp.2d 1337 (CIT 2007) ..............................................................................................16

Statutes

28 U.S.C. § 2640(b) .........................................................................................................................2

Tariff Act of 1930 ............................................................................................................................2

19 U.S.C. § 1516a(b)(1)(B)(i)......................................................................................................2, 3

19 U.S.C. § 1677b(f)(1)(A)..........................................................................................................4, 6

Administrative Determinations

Certain Aluminum Foil From the Republic of Armenia, Brazil, the Sultanate of
   Oman, the Russian Federation, and the Republic of Turkey; Antidumping Duty
   Orders, 86 Fed. Reg. 62790
   (Dep’t Commerce Nov. 12, 2021) .............................................................................................2


                                                                       i
AFDOCS/26101300.1
           Case 1:21-cv-00616-SAV Document 37                             Filed 08/05/22           Page 4 of 24




Certain Aluminum Foil From the Republic of Turkey; Final Affirmative
   Determination of Sales at Less Than Fair Value, 86 Fed. Reg. 52880
   (Dep’t Commerce Sep. 23, 2021) .................................................................................... passim

Certain Oil Country Tubular Goods from the Republic of Korea; Final Results of
   the
   2016-2017 Administrative Review of the Antidumping Duty Order, 84 Fed.
   Reg. 24085 (Dep’t Commerce May 24, 2019) ........................................................................13

Certain Orange Juice from Brazil; Final Results of Antidumping Duty
   Administrative Review and Final No Shipment Determination, 77 Fed. Reg.
   63291
   (Dep’t Commerce Oct. 16, 2012) ......................................................................................16, 18

Common Alloy Aluminum Sheet from Turkey; Preliminary Affirmative
  Determination of Sales at Less Than Fair Value, Preliminary Negative
  Determination of Critical Circumstances, Postponement of Final
  Determination, and Extension of Provisional Measures, 85 Fed. Reg. 65346
  (Dep’t Commerce Oct. 15, 2020) ................................................................................13, 14, 18

Low Enriched Uranium (“LEU”) from Germany, Netherlands and the United
   Kingdom; Notice of Final Antidumping Determination, 66 Fed. Reg. 65886
   (Dep’t Commerce Dec. 21, 2001) ......................................................................................16, 17

Phosphor Copper From the Republic of Korea; Final Affirmative Determination
   of Sales at Less Than Fair Value and Negative Final Determination of
   Critical Circumstances, 82 Fed. Reg. 12433
   (Dep’t Commerce Mar. 3, 2017)..............................................................................................18

Seamless Refined Copper Pipe and Tube from Mexico; Preliminary Results of
   Antidumping Duty Administrative Review and Preliminary Determination of
   No Shipments: 2014-2015, 81 Fed. Reg. 89434
   (Dep’t Commerce Dec. 12, 2016) ............................................................................................13

Steel Wire Rod from Trinidad & Tobago; Notice of Final Determination of Sales
    at Less Than Fair Value, 63 Fed. Reg. 9177
    (Dep’t Commerce Feb. 24, 1998) ............................................................................................16




                                                               ii
AFDOCS/26101300.1
        Case 1:21-cv-00616-SAV Document 37                Filed 08/05/22   Page 5 of 24




               UNITED STATES COURT OF INTERNATIONAL TRADE
              BEFORE: THE HONORABLE STEPHEN A. VADEN, JUDGE

                                                    )
ASSAN ALUMINYUM SANAYI VE                           )
TICARET A.S.,                                       )
                                                    )
               Plaintiff,                           )   Non-Confidential Version
                                                    )
v.
                                                    )
THE UNITED STATES,                                  )   Consol. Court No. 21-00616
                                                    )
               Defendant,                           )   Business Proprietary Information
                                                    )   removed from pages: 6, 7, 9, 10,
ALUMINUM ASSOCIATION TRADE                          )   11, 15, 16, 17.
ENFORCEMENT WORKING GROUP AND                       )
ITS INDIVIDUAL MEMBERS, et al.,                     )
                                                    )
               Defendant-Intervenors.               )
                                                    )


       RESPONSE BRIEF OF ASSAN ALUMINYUM SANAYI VE TICARET A.S. TO
    PETITIONERS’ RULE 56.2 MOTION FOR JUDGMENT ON THE AGENCY RECORD

I.      INTRODUCTION

        On behalf of Assan Aluminyum Sanayi ve Ticaret A.S. (“Assan”), we respectfully submit

this brief in response to the Aluminum Association Trade Enforcement Working Group, et al.’s

(“Petitioners”) memorandum of points and authorities in support of its motion for judgment on

the agency record filed on May 24, 2022, ECF Nos. 31 and 31-1 (“Pet. Br.”), regarding Certain

Aluminum Foil From the Republic of Turkey; Final Affirmative Determination of Sales at Less

Than Fair Value, 86 Fed. Reg. 52880 (Dep’t Commerce Sep. 23, 2021) (“Final Determination”)

(Appx007669-007671). 1 The Department of Commerce’s (“Commerce”) factual and legal

conclusions underlying the Final Determination are set forth in its Issues and Decision


1
 Per “Joint Appendix Preparation in § 1581(c) Cases Assigned to Judge Vaden,” all record
citations are to include bates-numbered appendix pages.

                                                1
AFDOCS/26101300.1
        Case 1:21-cv-00616-SAV Document 37               Filed 08/05/22     Page 6 of 24




Memorandum. Memorandum from A. Villanueva to J. Maeder, Issues and Decision

Memorandum for the Final Affirmative Determination in the Less-Than-Fair-Value Investigation

of Certain Aluminum Foil from the Republic of Turkey (Sep. 23 2021) (“Final I&D Memo”)

(Appx007617-007668). On November 12, 2021, Commerce published the antidumping duty

order. Certain Aluminum Foil From the Republic of Armenia, Brazil, the Sultanate of Oman, the

Russian Federation, and the Republic of Turkey; Antidumping Duty Orders, 86 Fed. Reg. 62790

(Dep’t Commerce Nov. 12, 2021) (Appx0078210-007824).

II.    ISSUES PRESENTED

       Assan addresses the following issues raised in Petitioners’ Brief, both of which involve

Commerce’s treatment of Assan’s hedging activities:

       1.      Whether Commerce’s grant of an offset to the cost of manufacturing (“COM”) for

Assan’s net hedging gains on raw material purchases and inventories used to produce subject

merchandise is supported by substantial evidence and otherwise in accordance with law; and

       2.      Whether Commerce’s exclusion of gains and losses associated with Assan’s

hedging activities from the interest expense ratio is supported by substantial evidence and

otherwise in accordance with law.

III.   STANDARD OF REVIEW

       The authority and scope of the Court’s power to review Commerce’s determinations in

Antidumping cases is established by statute. 28 U.S.C. § 2640(b) provides that “{i}n any civil

action commenced in the Court of International Trade under section 516A of the Tariff Act of

1930, the court shall review the matter as specified in subsection (b) of such section.” 19 U.S.C.

§ 1516a(b)(1)(B)(i) provides that, with respect to a final determination by the Commerce, the

Court “shall hold unlawful any determination, finding, or conclusion found . . . unsupported by

substantial evidence on the record, or otherwise not in accordance with law.” By statute,
                                                 2
AFDOCS/26101300.1
        Case 1:21-cv-00616-SAV Document 37                Filed 08/05/22     Page 7 of 24




Commerce determinations shall thus be upheld if they are supported “by substantial evidence on

the record” and are otherwise “in accordance with law.” Id.

       “Substantial evidence” means “such relevant evidence as a reasonable mind might accept

as adequate to support a conclusion.” DuPont Teijin Films USA, LP v. United States, 407 F.3d

1211, 1215 (Fed. Cir. 2005) (quoting Consol. Edison Co. of New York v. NLRB, 305 U.S. 197,

229 (1938)). More specifically, when reviewing agency determinations, findings, or conclusions

for substantial evidence, the court assesses whether the agency action is “reasonable and

supported by the record as a whole.” Nippon Steel Corp. v. United States, 458 F.3d 1345, 1352

(Fed. Cir. 2006) (citation omitted). To provide a reasoned explanation, Commerce “must make

the necessary findings and have an adequate evidentiary basis for its findings,” and “must

examine the relevant data and articulate a satisfactory explanation for its action including a

rational connection between the facts found and the choice made.” In re NuVasive, Inc., 842 F.3d

1376, 1382 (Fed. Cir. 2016) (internal quotations omitted) (citations omitted); see 19 U.S.C.

§ 1516a(b)(1)(B)(i).

       The Court of Appeals for the Federal Circuit (“Federal Circuit”) has stated that the

“substantial evidence standard does not allow a court to conduct a de novo investigation of the

evidence on the record before it and reach an independent conclusion; rather, the court’s review

is limited to deciding whether there is sufficient evidence in the record considered as a whole to

support the agency’s findings.” Akzo N.V. v. U.S. Int’l Trade Comm’n, 808 F.2d 1471, 1479 (Fed.

Cir. 1986). The “mere fact that a reasonable person might reach some other conclusion is

insufficient for this court to overturn the agency’s conclusion.” Id. When reviewing Commerce’s

statutory interpretations, the Court specifically applies the framework set forth in the Supreme

Court’s opinion in Chevron. Union Steel v. United States, 713 F.3d 1101, 1106–07 (Fed. Cir.


                                                 3
AFDOCS/26101300.1
        Case 1:21-cv-00616-SAV Document 37                Filed 08/05/22     Page 8 of 24




2013) (citing Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 842-43 (1984)).

IV.    ARGUMENT

       Commerce’s treatment of Assan’s hedging activities in the Final Determination is

supported by substantial evidence and otherwise in accordance with law. Specifically, in the

Final Determination, Commerce accounted for Assan’s net hedging gains as an offset to the

reported COM. Final I&D Memo at 41 (Appx007657). Commerce’s treatment of Assan’s

hedging transactions, which exist solely to “ensure stability related to its raw material costs,” was

consistent with the statutory requirement that Commerce “calculate costs based on a respondent’s

normal books and records if they are kept in accordance with home country GAAP and

reasonably reflect the costs associated with the production and sale of the merchandise.” Id.

(citing 19 U.S.C. § 1677b(f)(1)(A)) (Appx007657). Because Assan clearly established that its

hedging activities directly relate to raw material purchases, and are recorded as cost of goods

sold in its audited financial statements, Commerce’s offset of net hedging gains was lawful and

consistent with Assan’s normal books and records. Id. (Appx007657). Petitioners’ arguments,

which seek only to complicate this straightforward accounting principle, ignore record evidence

and should be rejected by the Court.

       A.      Hedging Revenues Are An Appropriate Offset To COM

               1.      Commerce’s Treatment of Assan’s Hedging Revenues Is Consistent
                       With Assan’s Audited Financial Statements

       Assan’s sales of aluminum foil are structured such that the London Metal Exchange

(“LME”) value of aluminum is a component in the price as a pass-through in the sale of the final

product. Assan Aluminyum Sanayi ve Ticaret A.S. and Kibar Dis Ticaret A.S. ’s (“Kibar”)’s

Response to Section A Questionnaire (Dec. 22, 2020) (“Section A QR”) at A-23 (Appx80057).

As Petitioners note, “{t}his type of pricing structure – with the LME value of aluminum and

                                                 4
AFDOCS/26101300.1
        Case 1:21-cv-00616-SAV Document 37                 Filed 08/05/22      Page 9 of 24




metal premium passed through to the customer based on a formula – is utilized widely in the

aluminum industry.” Pet. Br. at 10. Separately, Assan engages in raw material hedging for the

LME portion of raw material purchases in the normal course of business. Assan Aluminyum

Sanayi ve Ticaret A.S. and Kibar Dis Ticaret A.S.’s Response to the April 9, 2021 Section D

Fourth Supplemental Questionnaire (Qs 5-10) (Apr. 15, 2021) (“Ninth Supp. QR Part II”) at 1-3

(Appx87808-87810). This practice is likewise common amongst participants in the aluminum

industry, including the Petitioners. See Assan Aluminyum Sanayi ve Ticaret A.S., Kibar Dis

Ticaret A.S., and Ispak Esnek Ambalaj Sanayi A.S. (“Ispak”)’s Rebuttal Brief (Aug. 12, 2021)

(“Rebuttal Br.”) at 14 (citing Common Alloy Aluminum Sheet from Bahrain, Brazil, Croatia,

Egypt, Germany, India, Indonesia, Italy, Oman, Romania, Serbia, Slovenia, South Africa, Spain,

Taiwan, and Turkey, International Trade Commission Investigation Nos. 701-TA-639 and 641-

642 and 731-TA-1475-1479, 1481-1483, and 1485-1492 (Final) Publication 5182 at VI-17

(April 2021)) (Appx91371).

       As the Petitioners acknowledge, with regards to raw material hedging, “Assan

predominantly sells futures contracts (i.e., ‘short hedging’),” which “generate a gain for Assan

when LME aluminum prices decline and a loss for Assan when LME aluminum prices increase.”

Pet. Br. at 11. In other words, when Assan purchases raw materials, it creates a hedge for a future

sale of that material at a set price to ensure that raw material costs are fixed during the

production of downstream products. Assan is not a metal trader, is not in the business of taking

speculative positions, and “is not in the business to make a profit on its hedging transactions.”

Final I&D Memo at 41 (Appx007657). As Petitioners note, actual raw material costs may go up

or down, resulting in a gain or a loss when the hedge is closed. Pet. Br. at 11. The hedging




                                                  5
AFDOCS/26101300.1
       Case 1:21-cv-00616-SAV Document 37                Filed 08/05/22      Page 10 of 24
                                                                     NON-CONFIDENTIAL VERSION



process exists only to avoid volatility in the ultimate costing of the finished product by creating a

neutral position. Final I&D Memo at 41 (Appx007657).

       The cost of the hedge transaction, as well as the associated gains and losses, are all

recorded as the costs of goods sold in Assan’s audited financial statements, which have been

extensively reviewed, audited, and approved by an independent auditor and by Commerce in this

investigation. Final I&D Memo at 41 (Appx007657). Pursuant to 19 U.S.C. § 1677b(f)(1)(A):

               Costs shall normally be calculated based on the records of the
               exporter or producer of the merchandise, if such records are kept in
               accordance with the generally accepted accounting principles of
               the exporting country (or the producing country, where
               appropriate) and reasonably reflect the costs associated with the
               production and sale of the merchandise.

The reduction of Assan’s reported COM by the net hedging gains reflected in Assan’s normal

books and records is consistent with the treatment of those gains as cost of goods sold in Assan’s

audited financial statements. Final I&D Memo at 41 (Appx007657).

       Despite this, Petitioners ask the Court to ignore generally accepted accounting principles

and Assan’s normal business practices based on their selective reading of Assan’s audited

financial statements. Pet. Br. at 13. In the Final Determination, Commerce correctly noted that

“Assan’s audited financial statement accompanying footnotes state that the company enters into

commodity contracts to mitigate its risk on aluminum price fluctuations.” Final I&D Memo at 42

(emphasis added) (Appx007658). This is consistent with the language excerpted by Petitioners

from Assan’s financial statement, which specifically notes:

               [


                                       ]

Pet. Br. at 13 (citing Appx80466 (emphasis added)). As an initial matter, this portion of Assan’s

financial statements simply explains the IFRS principles for [
                                               6
AFDOCS/26101300.1
       Case 1:21-cv-00616-SAV Document 37                 Filed 08/05/22     Page 11 of 24
                                                                     NON-CONFIDENTIAL VERSION




                                ]. Section A QR at Exh. A-14 (Appx80367-80487). Moreover,

though the description does not explicitly [                                  ], id., the record

clearly establishes that primary aluminum is the major raw material input in the production of

aluminum foil, a finished good. Final I&D Memo at 42 (Appx007658); Assan Aluminyum

Sanayi ve Ticaret A.S. and Kibar Dis Ticaret A.S.’s Response to Section D Questionnaire

(January 19, 2021) (“Section D QR”) at D-9 and Exhs. D-4, D-6 (Appx82598, 82654-82655,

82661-82663). Contrary to Petitioners’ claims, this language clearly supports Commerce’s

conclusion that “Assan’s hedging activities and associated net hedging gains are related to

Assan’s aluminum purchases.” Final I&D Memo at 42 (Appx007658).

       Still, Petitioners claim it is “unreasonable to infer, as Commerce did, that ‘aluminum

price fluctuations’ refers only to the price of Assan’s raw material inputs,” Pet. Br. at 13, because

both Assan’s purchases of raw materials (aluminum) and Assan’s sales of finished product

(aluminum foil) include a provision to account for LME fluctuations. Pet. Br. at 10. Petitioners’

argument improperly conflates Assan’s purchases and sales, ignoring that the LME hedge in

Assan’s purchases of raw materials are set independently and during a separate period of time

than the LME hedge in Assan’s sales price for finished products. Petitioners’ attempts to link

Assan’s raw material hedges to final product sales is contrary to record evidence. Throughout

Commerce’s investigation, Assan exhaustively reported its hedging activities and linked those

hedges to specific raw material purchases. Ninth Supp. QR Part II at 1-6 and accompanying

exhibits (Appx87808-87813, 87820-88263); Assan and Kibar’s Response to the May 4, 2021

Section D Fifth Supplemental Questionnaire (Qs 1, 2d, 3) (May 17, 2021) (“Tenth Supp. QR Part

II”) at 1-9 and accompanying exhibits (Appx89122-89130, 89138-89171). In fact, in the Final


                                                  7
AFDOCS/26101300.1
       Case 1:21-cv-00616-SAV Document 37               Filed 08/05/22     Page 12 of 24




Determination, Commerce revised its methodology to more clearly “link the POI raw material

purchases with the associated hedging gains or losses, and mitigate the timing differences,” by

“incorporating a ninety-day lag,” which is the average duration of Assan’s commodity hedging

contracts. Final I&D Memo at 42 (Appx007658).

       By contrast, there is no corresponding trace to any specific sales contract or invoice

because the raw material hedge is unrelated to Assan’s sales of finished goods or sales revenue.

Indeed, the hedge could not occur on the sales transaction, which had not even been booked at

the time of the raw material purchase. There is no support for Petitioners’ erroneous premise that

hedges are in any way linked to the LME portion of Assan’s sales price; the hedging on raw

materials is cost based on and properly treated as an offset to Assan’s COM.

       Commerce’s finding that the Assan’s net hedging gains are specifically related to its raw

material purchases and inventories of aluminum, as properly reported in its audited financial

statements, is reasonable and supported by substantial record evidence. Final I&D Memo at 42

(Appx007658).

               2.     Commerce’s Finding That Assan’s Hedging Is Linked To Raw
                      Material Purchases Is Supported By Substantial Evidence

       In challenging Commerce’s reliance on Assan’s audited financial statements, as directed

by the statute, Petitioners present speculative arguments, which “suppose” and “{s}uppose

further” that LME futures contracts and aluminum pricing occurred a specific way. Pet. Br. at 11.

But this type of speculation is unnecessary – Assan provided numerous examples of its actual

hedging activities, which link Assan’s hedge transactions to specific raw material purchases

during the period of investigation (“POI”) and directly contradict Petitioners’ central argument

that Assan’s LME transactions are unrelated to the “actual physical . . . purchase of aluminum.”

Ninth Supp. QR Part II at 4 and Exhibit S9D-9 (Appx87811, 87829-878230); Pet. Br. at 12.

                                                8
AFDOCS/26101300.1
       Case 1:21-cv-00616-SAV Document 37                Filed 08/05/22     Page 13 of 24
                                                                    NON-CONFIDENTIAL VERSION



Petitioners ask the Court to reject this clear documentation establishing that Assan’s raw material

hedging applies only to its raw material purchases because “Assan’s hedges were opened after

the LME portion of its aluminum input purchases were locked in.” Pet. Br. at 15. Petitioners

specifically claim that “there is no uncertainty or risk left for Assan to manage or ‘hedge’ with

respect to its purchases of primary aluminum” after those purchases occur. Id. at 16.

       Petitioners’ argument is based on the erroneous assumption that “{i}f LME prices for

primary aluminum decline before Assan sells the finished good that incorporates that purchased

raw material, then Assan’s finished good selling price would include a lower LME aluminum

price.” Id. at 22. This is not true. As Assan detailed to Commerce, the LME component of its

sales price is fixed during invoicing, and may be based on the monthly average, quarterly

average, or spot cash LME based on the preference of the customer. Section A QR at A-23

(Appx80057). A lower LME does not necessarily create a lower sales revenue. To the contrary,

evidence presented by Assan throughout this proceeding demonstrates the importance of short

hedges to protect Assan’s raw material inventory against the risk of LME price decreases. Assan

Aluminyum Sanayi ve Ticaret A.S. and Kibar Dis Ticaret A.S.’s Rebuttal to Petitioners’ April 8

and April 15 Pre-Preliminary Comments (Apr. 20, 2021) (“April 20 Pre-Prelim Rebuttal

Comments”) at 2-3 (Appx88364-88365); Ninth Supp. QR Part II at 1-2 (Appx87808-87809).

       Indeed, information presented to Commerce establishes the real impact of declining LME

prices on the value of Assan’s raw material inventory, resulting in substantial losses during the

POI in several months and necessitating a short hedge after the purchase of raw materials. See

Tenth Supp. QR Part II at Exh. S10D-8 (Appx89163-89166). For example:

           •   In August 2019, LME current price was [           ] whereas Assan’s average LME

               inventory value was [        ]. As a result. Assan had to recognize a mark to


                                                 9
AFDOCS/26101300.1
         Case 1:21-cv-00616-SAV Document 37                        Filed 08/05/22        Page 14 of 24
                                                                                NON-CONFIDENTIAL VERSION



                  market loss in this month of [

                                                                                                     ] Id.

                  (Appx89163-89166). 2

             •    In January 2020, LME current price was [                  ] whereas Assan’s average LME

                  inventory value was [             ]. As a result. Assan had to recognize a mark to

                  market loss in this month of [

                                                                                                              ]. Id.

                  (Appx89163-89166).

             •    In February 2020, LME current price was [                   ] whereas Assan’s average LME

                  inventory value was [             ]. As a result. Assan had to recognize a mark to

                  market loss in this month of [

                                                                                                             ]. Id.

                  (Appx89163-89166).

             •    In March 2020, LME current price was [                   ] whereas Assan’s average LME

                  inventory value was [             ]. As a result. Assan had to recognize a mark to

                  market loss in this month of [

                                                                                                             ]. Id.

                  (Appx89163-89166).

In short, though Assan’s hedging practices resulted in a net gain during the POI, there were

substantial losses in value observed for Assan’s raw material inventory during the same period. 3

2
  Mark to market gain/loss is determined by the additional loss and gain the company needs to post to restate the
inventory to the current value. For example, in the end of August 2019, Assan’s total inventory value should be [



             ] Rebuttal Br. at 20, n.48 (Appx91377).

                                                         10
AFDOCS/26101300.1
         Case 1:21-cv-00616-SAV Document 37                      Filed 08/05/22        Page 15 of 24
                                                                              NON-CONFIDENTIAL VERSION



In fact, Assan recognized an overall valuation loss for its inventory during the POI. Ninth Supp.

QR Part II at 3 and Exhibit S9D-8 (Appx87810, 87827-87828).

        These actual impacts in the value of Assan’s raw material inventory directly contradict

Petitioners’ baseless statement that “past transactions do not entail any risk.” Pet. Br. at 18.

Though Petitioners allege that Commerce “does not address the implications of Assan’s

chronology for opening its short hedges” and unlawfully ignored this “detracting evidence,” Pet.

Br. at 19, the need for short hedges to protect Assan’s raw material inventory value is clearly

considered by Commerce in the Final Determination. As Commerce notes:

                 Assan explained in this investigation that to meet customer
                 demands and offer a reasonable delivery time to its customers,
                 Assan maintains extra raw material inventory. According to Assan,
                 raw material purchase transactions are generally concluded within
                 the first three weeks of each month. However, because raw
                 material prices are subject to significant fluctuations, Assan also
                 engages in hedging transactions for the purchased raw materials
                 to eliminate the risk of fluctuations in the metal cost.

Final I&D Memo at 41 (emphasis added) (Appx007657). Again, Petitioners’ arguments

misunderstand the purpose of Assan’s raw material hedging activities – the goal is not to “protect

against declining prices”, Pet. Br. at 20, for finished products, but rather, as Commerce

recognized, to “eliminate the risk of fluctuations in the metal cost” on the value of its raw

material metal inventories. Final I&D Memo at 41(Appx007657).

        Petitioners next argue that Assan’s hedging on past purchases of raw materials is

inconsistent with its own narrow definition of hedging, which Petitioners claim must necessarily

be associated with “the future sale of a commodity.” Pet. Br. at 18. However, the source of their
3
  Assan reported both monthly gains and losses during the POI for inventory revaluations in accordance with IFRS
rules requiring monthly revaluation of inventory based on end of month LME value. Tenth Supp. QR Part II at 1
(Appx89122); Section D QR at Exh. D-6 and D-11 (Appx82661-82663, 82673-82674). While Assan reported a POI
[         ] of [                  ] in its [
                ], Assan also reported a loss of [       ] during the POI for inventory related to finished goods.
Ninth Supp. QR Part II at 3 and Exhibit S9D-8 (Appx87810, 87827-87828).

                                                        11
AFDOCS/26101300.1
        Case 1:21-cv-00616-SAV Document 37                      Filed 08/05/22       Page 16 of 24




definition – the Center for Farm Financial Management at the University of Minnesota –

describes hedging in an agricultural context (sale of crops), and its meaning is unrelated to the

role of hedging in an aluminum, metals, or even a manufacturing context. Id. Unlike producers in

the agricultural sector, such as grain or cattle, aluminum producers that utilize hedging do not

have a distinct target date for harvest, nor a known pre-determined output volume that must be

sold. 4 Assan does not know what end products it will manufacture, when it will manufacture

them, or how much it will manufacture at the time it purchases raw materials. Assan therefore

cannot hedge its output in the manner Petitioners describe.

        Even so, the full definition cited by Petitioners still contradicts its own position. The

Center for Farm Financial Management at the University of Minnesota describes a short hedge

as:

                 The sales of futures contracts against cash ownership, including
                 inventory, expected production and/or forward purchases. The
                 short hedge protects the hedger against falling prices.

Petitioners’ Comments On and New Factual Information to Rebut Assan’s April 15, 2021

Supplemental Section D Questionnaire Response (Apr. 19, 2021) (“Pet. Apr. 19 Comments”) at

Attach. 2, pg. 1 (emphasis added) (Appx88314). As detailed above, Assan engages in short

hedges for the purpose of protecting the value of its raw material inventory after the raw material

is purchased, but before the end product is manufactured. Rebuttal Br. at 17 (Appx91374). In

other words, Assan is doing precisely what the University of Minnesota describes, i.e. engaging

in short hedges to protect the value of its purchased raw materials, i.e. raw materials inventory,



4
 Petitioners have repeatedly attempted to draw comparisons between aluminum hedging and the hedging of
agricultural products, including grain and cattle. Petitioners’ Comments On and New Factual Information to Rebut
Assan’s April 15, 2021 Supplemental Section D Questionnaire Response (Apr. 19, 2021) (“Pet. Apr. 19 Comments”)
at 4-5 and Attach. 2-8 (Appx88292-88293, Appx88313-88362). The function of hedging for agricultural products is
wholly irrelevant to its use in the aluminum manufacturing business. Rebuttal Br. at 16-18 (Appx91373-91375).

                                                      12
AFDOCS/26101300.1
       Case 1:21-cv-00616-SAV Document 37                Filed 08/05/22     Page 17 of 24




and “expected production” against LME price fluctuations. This fact does not negate

Commerce’s finding that Assan’s hedges are “directly associated” with its purchases of raw

material aluminum. Final I&D Memo at 41 (Appx007657); Pet. Br. at 15. Petitioners’ vague

claim that Assan’s hedging does not manage the risk of Assan’s raw material purchases, but

rather some unspecified “future transactions” has no support in the record. Pet. Br. at 19.

               3.      Commerce Has Used The Same Methodology In Other Recent Cases

       Commerce has historically considered both gains and losses in its cost calculations and

its treatment of Assan’s net hedging gains to offset the reported COM is consistent with its

methodology in other recent cases. For example, in Certain Oil Country Tubular Goods from the

Republic of Korea, Commerce found that the gains and losses on periodic raw material and WIP

inventory revaluations were related to the general operations of the company as a whole and

should be included in the reported costs. Final Results of the 2016-2017 Administrative Review

of the Antidumping Duty Order, 84 Fed. Reg. 24085 (Dep’t Commerce May 24, 2019), and

accompanying I&D Memo at 82-83 (Cmt. 8). As in this case, Commerce’s finding was based in

part on the recognition of inventory valuation gains and losses in the respondent’s GAAP-based

financial statements. Id. Likewise, in Seamless Refined Copper Pipe and Tube from Mexico,

Commerce revised the respondent’s “reported total cost of manufacturing by calculating and

applying a single per-unit adjustment amount for . . . hedging gains and losses{.}” Preliminary

Results of Antidumping Duty Administrative Review and Preliminary Determination of No

Shipments: 2014-2015, 81 Fed. Reg. 89434 (Dep’t Commerce Dec. 12, 2016), and

accompanying I&D Memo at 15.

       Most relevant, in Commerce’s concurrent investigation involving Common Alloy

Aluminum Sheet from Turkey (“CAAS from Turkey”), in which Assan was also a mandatory

respondent, Commerce employed the exact same methodology with regards to Assan’s raw
                                           13
AFDOCS/26101300.1
       Case 1:21-cv-00616-SAV Document 37               Filed 08/05/22     Page 18 of 24




material hedging as that utilized in this case. Specifically, Commerce “adjusted the reported cost

of manufacturing (COM) to include the metal hedge position evaluation, the metal hedge

position inventory evaluation, and the provision for inventory value.” Preliminary Affirmative

Determination of Sales at Less Than Fair Value, Preliminary Negative Determination of Critical

Circumstances, Postponement of Final Determination, and Extension of Provisional Measures,

85 Fed. Reg. 65346 (Dep’t Commerce Oct. 15, 2020) (unchanged in final determination), and

accompanying I&D Memo (“CAAS I&D Memo”) at 15; see also Ninth Supp. QR Part II at

Exhibit S9D-07 (Appx87820-87826). Notably, Petitioners did not take issue with Commerce’s

methodology in that case, despite currently challenging the final determination in an appeal

pending before this Court. Consol. Ct. No. 21-246.

       Given the relevance of CAAS from Turkey, which involved an overlapping POI, the same

respondent, and the same raw material input (primary aluminum) used to produce a similar

product (CAAS), it is telling that Petitioners fail to mention Commerce’s determination in its

opening brief. Indeed, Petitioners have provided no reasonable explanation for why Assan’s

hedging gains and losses should have been treated differently by Commerce in this investigation

involving aluminum foil than they were in the investigation involving CAAS. Commerce’s Final

Determination with regards to the treatment of Assan’s hedging activities is thus reasonable,

consistent with recent precedent, and otherwise in accordance with law.

       B.      Hedging Activities Are Unrelated To Assan’s Interest Expense Ratio

       In the Final Determination, Commerce rejected Petitioners’ argument that Assan’s net

hedging gains be included in Assan’s interest expense ratio (“INTEX”) because such gains “are

recorded as a part of cost of goods sold in its audited financial statements and relate to aluminum

purchases used in the production of merchandise under consideration{.}” Final I&D Memo at 43

(Appx007659). As such, Commerce concluded that “it is inappropriate to include this amount in
                                          14
AFDOCS/26101300.1
        Case 1:21-cv-00616-SAV Document 37                      Filed 08/05/22       Page 19 of 24
                                                                            NON-CONFIDENTIAL VERSION



the financial expense ratio.” Id. (Appx007659). Despite the extensive record evidence

demonstrating that Assan’s hedging revenues relate to raw material purchases and inventory, as

detailed above, Petitioners allege that Commerce’s determination is arbitrary because these gains

were treated differently than Assan’s gains on [

            ]. Pet. Br. at 24. Petitioners’ specifically challenge Commerce’s exclusion of Assan’s

[                                                                                    ] arguing that both

Assan’s hedging gains and such [                                     ] should be included in INTEX,

rather than as an offset to the COM. Id. at 25.

        Petitioners are wrong. The [



                      ] and commodity exchange contracts. See Section A QR at Exh. A-14

(Appx80367-80487). Each of these items is executed with financial institutions, which is why

they are listed in this category. Id. (Appx80367-80487). This does not change the fact that

“Assan’s hedging gains and losses are directly associated with purchases of the raw material

aluminum{, they} are recorded as a part of cost of goods sold” in Assan’s audited financial

statements. Final I&D Memo at 41 (Appx007657); see also Section D QR at Exh. D-16

(Appx82691-82706). 5 Indeed, the recording of Assan’s raw material hedging gains as COGs is

approved by Assan’s management and its auditor, PWC – one of the world’s largest accounting

firms. Rebuttal Br. at 14 (Appx91371).




5
 Accounts [                                                      ] are grouped under COGS in column E titled
“P&L_Mapping”. Section D QR at Exh. D-16 (Appx82691-82706). The sum of accounts labeled COGS is [
              ]. This ties to “Assan Alüminyum 2019 Solo COGS” line in Assan’s Jan. 19 DQR at Exhibit D-16 in
after adding the reconciling item of [           ]. See Assan Aluminyum Sanayi ve Ticaret A.S. and Kibar Dis
Ticaret A.S.’s Response to the March 8, 2021 Section D Second Supplemental Questionnaire (Mar. 29, 2021) (“Fifth
Supp. QR”) at Exh. S5D-33 (Appx85891-85892).

                                                      15
AFDOCS/26101300.1
        Case 1:21-cv-00616-SAV Document 37                Filed 08/05/22     Page 20 of 24
                                                                      NON-CONFIDENTIAL VERSION



       Petitioners’ criticism of Commerce’s “difference in treatment” between Assan’s raw

material hedging gains and [                               ] ignores the disparate purpose of those

two items. Commerce’s longstanding policy is to consider treatment of hedging activities in the

context of the underlying purpose. See April 20 Pre-Prelim Rebuttal Comments at 3

(Appx88365). Where, as here, the hedging activity relates to manufacturing or production

(including input purchases), gains and losses are included in COP and CV calculations. See, e.g.,

USEC v. United States, 498 F.Supp.2d 1337, 1353 (CIT 2007) (citing Steel Wire Rod from

Trinidad & Tobago; Notice of Final Determination of Sales at Less Than Fair Value, 63 Fed.

Reg. 9177, 9181–82 (Dep’t Commerce Feb. 24, 1998) (“{T}he Department includes currency

losses related to manufacturing operations in its calculations, but excludes those related to sales

transaction”)). By contrast, where the hedging activities are related to financing activities, rather

than manufacturing or production, Commerce treats those gains and losses as part of the

calculated financial expense ratio when related to financing activities. See, e.g., Certain Orange

Juice from Brazil; Final Results of Antidumping Duty Administrative Review and Final No

Shipment Determination, 77 Fed. Reg. 63291 (Dep’t Commerce Oct. 16, 2012), and

accompanying I&D Memo (Oct. 9, 2012) (“Orange Juice from Brazil IDM”) at Cmt. 10.

       Commerce’s longstanding practice is perhaps best articulated in its investigation

involving Low Enriched Uranium (“LEU”) from Germany, Netherlands, and the United

Kingdom, in which Commerce stated:

               We note that, in general, a company’s involvement in speculative
               futures contracts would be considered investment activity, similar
               to trading of stock. However, companies are often willing to
               transfer risk to the speculators in order to protect their future
               position through the process called hedging. Companies may be
               involved in different types of hedging transactions, such as hedging
               profits by taking a futures position in the product they produce and
               sell, hedging the local currency value of the company’s sales

                                                 16
AFDOCS/26101300.1
        Case 1:21-cv-00616-SAV Document 37              Filed 08/05/22    Page 21 of 24
                                                                   NON-CONFIDENTIAL VERSION



                denominated in foreign currency, hedging the rate of interest they
                earn or pay on borrowed money by entering into interest
                rate futures, etc. In each of the above-mentioned examples, it is
                clear that the hedging contracts would be related to the company's
                specific activity, such as sales or borrowing, and should be
                analyzed as an intrinsic component of that activity.

Notice of Final Antidumping Determination, 66 Fed. Reg. 65886 (Dep’t Commerce Dec.

21, 2001), and accompanying I&D Memo at Cmt. 17 (emphasis added). Like the

respondents in LEU from Germany, Netherlands, and the United Kingdom, Assan

engages “in different types of hedging transactions,” including the raw material hedging

considered by Commerce and the [                                              ] flagged by

Petitioners. Commerce’s “disparate treatment” does not make its determination arbitrary,

as Petitioners claim. Pet. Br. at 25. Rather, it demonstrates that Commerce is engaging in

the exact analysis it has articulated in past cases.

        Again, in this case, the reported raw material hedging relates to Assan’s

manufacturing and production, not to its financing activities or to its sales. See Section

IV.A, infra. By contrast, each of the cases cited by Petitioners involve financing-related

activities, rather than hedging on raw material costs. For example, in Phosphor Copper

from the Republic of Korea, a case cited by Petitioners as involving “very similar

circumstances” to those at issue here, Commerce’s determination to include gains and

losses in respondent’s financial expense rate calculation was based, in part, on the fact

that:

                {Respondent’s} investments in derivatives are entirely
                unconnected to its production operations. The record does not
                indicate that such derivatives are related in any way to either raw
                material purchases or sales, or that derivative investments were
                made to manage risk associated with phosphor copper operations.
                Respondent’s foreign currency losses or gains that related to
                transactions were recorded in {respondent’s} income statement,

                                                  17
AFDOCS/26101300.1
          Case 1:21-cv-00616-SAV Document 37              Filed 08/05/22     Page 22 of 24




                and therefore they have already been reported in the financial
                expense ratio.

Final Affirmative Determination of Sales at Less Than Fair Value and Negative Final

Determination of Critical Circumstances, 82 Fed. Reg. 12433 (Dep’t Commerce Mar. 3,

2017), and accompanying I&D Memo (Feb. 27, 2017) at 11. Clearly, this scenario is

distinguishable from Assan’s hedging activities, which are directly related to Assan’s raw

material purchases and inventories, necessitating different treatment of hedging gains and

losses.

          Likewise, in Certain Orange Juice From Brazil, a second case cited by

Petitioners, Commerce emphasized the complexity of hedging instruments, noting that

they “can be extremely complicated in how they are structured and in how any related

gain and losses must be reported.” Orange Juice from Brazil IDM at 44 (Cmt. 10) . As

such, Commerce stated:

                Absent the identification of specific and clear distortions in how
                the company normally treats the resulting gains and losses on these
                transactions, in accordance with home country GAAP, we consider
                it appropriate to rely on the gains and losses recorded in the
                company’s . . . GAAP audited income statement.

Id. at 43. Again, in this case, the “net hedging gains from {Assan’s} hedging activities . . .

were recorded as a part of cost of goods sold in the audited financial statements.” Final

I&D Memo at 41 (Appx007657).

          There are no inconsistencies between Commerce’s methodology in this case and

that applied in other cases, including the cases cited by Petitioner. Pet. Br. at 25-26. To

the contrary, the treatment of Assan’s hedging revenues was consistent with other recent

cases, mostly notably CAAS from Turkey. CAAS I&D Memo at 15. Commerce’s

determination is therefore reasonable and should be upheld by the Court.

                                                 18
AFDOCS/26101300.1
         Case 1:21-cv-00616-SAV Document 37            Filed 08/05/22     Page 23 of 24




V.       PRAYER FOR RELIEF

         WHEREFORE, Assan Aluminyum Sanayi ve Ticaret A.S. respectfully requests that this

Court:

         (a)   Hold that Commerce’s Final Determination was based on substantial evidence

               and in accordance with the law with respect to the claims advanced by Petitioners

               in this appeal;

         (b)   Grant such additional relief as the Court may deem just and proper.


                                                Respectfully submitted,


                                                /s/ Leah N. Scarpelli
                                                Leah N. Scarpelli
                                                Matthew M. Nolan
                                                Yun Gao

                                                ArentFox Schiff LLP
                                                1717 K Street, N.W.
                                                Washington, DC 20006
                                                Phone: (202) 715-8403

                                                Counsel to Assan Aluminyum Sanayi ve Ticaret
                                                A.S.

August 5, 2022




                                               19
AFDOCS/26101300.1
       Case 1:21-cv-00616-SAV Document 37             Filed 08/05/22    Page 24 of 24




                            CERTIFICATE OF COMPLIANCE

       Pursuant to the Court’s Standard Chamber Procedure 2(b)(1), the undersigned certifies

that Response to Petitioners’ 56.2 Motion for Judgment on the Agency Record filed on August 5,

2022 complies with the word limitation requirement. The word count for Assan’s Response

Brief, as computed by ArentFox Schiff LLP’s word processing system is 5,631.



                                               /s/ Leah N. Scarpelli
                                               Leah N. Scarpelli

                                               Counsel to Assan Aluminyum Sanayi ve Ticaret
                                               A.S.




AFDOCS/26101300.1
